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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


ALLINA HEALTH SERVICES et al.,

               Plaintiffs,
       v.
                                                     Civil Action No. 14-1415 (TJK)
ALEX M. AZAR II, Secretary of
Health and Human Services

               Defendant.


                                            ORDER

       This case is before the Court on remand from the Supreme Court following its decision in

Azar v. Allina Health Services, 139 S. Ct. 1804 (2019), which affirmed the D.C. Circuit’s

decision to reverse this Court’s judgment for Defendant in Allina Health Services v. Azar, 863

F.3d 937 (2017). Plaintiffs have moved for entry of judgment in their favor, and Defendant has

opposed their motion in part. See ECF No. 51; ECF No. 52. The parties agree that the Court

should enter judgment for Plaintiffs and remand the case to the Department of Health and

Human Services. But Plaintiffs also request that the Court instruct the Department to recalculate

the reimbursement payments in dispute according to a specific method and require the parties to

file status reports with the Court until those payments are made. See ECF No. 51-1. Because the

normal remedy in administrative law cases is to permit the agency to “deal with the problem

afresh,” Sec. & Exch. Comm’n v. Chenery Corp., 332 U.S. 194, 201 (1947), the Court declines to

so instruct the Department.

       “Under settled principles of administrative law, when a court reviewing agency action

determines that an agency made an error of law, the court’s inquiry is at an end: the case must be

remanded to the agency for further action consistent with the corrected legal standards.” PPG
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Industries, Inc. v. U.S., 52 F.3d 363, 365 (D.C. Cir. 1995) (collecting cases). Indeed, in a related

case involving some of these same parties, the D.C. Circuit vacated a district court order that

provided the Department with instructions similar to those that Plaintiffs request here. Allina

Health Servs. v. Sebelius, 746 F.3d 1102, 1111 (D.C. Cir. 2014). Only in “rare cases,” the

Circuit concluded, “when the reviewing court is convinced that remand would serve no purpose,

does the court direct the agency how to resolve a problem.” Id. n.6. Upon consideration of the

parties’ arguments on this issue, the Court concludes that this is not the “rare case” that requires

its intervention in an agency’s proceedings following remand.

       Accordingly, it is hereby ORDERED that Plaintiffs’ Motion for Judgment, ECF No. 51,

is GRANTED IN PART and DENIED IN PART. Judgment is entered in favor of Plaintiffs. It

is FURTHER ORDERED that the Department’s publication of the “Medicare/SSI” fractions to

be used in calculating Plaintiffs’ disproportionate share hospital payment adjustments under the

Medicare Act, 42 U.S.C. § 1395ww(d)(5)(F)(vi)(1), for fiscal year 2012 is VACATED and that

this case is REMANDED to the Department for further proceedings consistent with the law

established by this case.

       The Clerk of Court is directed to close the case.



                                                              /s/ Timothy J. Kelly
                                                              TIMOTHY J. KELLY
                                                              United States District Judge

Date: September 4, 2019




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